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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR12-062-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JUSTIN MATTHEW McCROREY,             )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Heroin and Methamphetamine

15 Date of Detention Hearing:     April 3, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense, the maximum penalty of which



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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

02 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

03          2.     Defendant’s criminal history includes failures to appear for court and resultant

04 warrant activity, and multiple violations of DOC supervision including absconding, failing to

05 report, failing to submit to drug testing, use of illegal drugs and new law violations. Pretrial

06 Services reports that while on supervision, the defendant engaged in new criminal activity on

07 ten occasions and served in excess of 24 months custody for such violations. Since his release

08 from custody on his most recent felony conviction on April 26, 2010, defendant has violated the

09 terms and conditions of his supervision on three occasions and has one new criminal

10 conviction.

11          3.     Defendant has participated unsuccessfully in drug treatment in the past and is an

12 admitted current methamphetamine addict.

13          4.     Taken as a whole, the record does not effectively rebut the presumption that no

14 condition or combination of conditions will reasonably assure the appearance of the defendant

15 as required and the safety of the community.

16 It is therefore ORDERED:

17      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

18          General for confinement in a correction facility separate, to the extent practicable, from

19          persons awaiting or serving sentences or being held in custody pending appeal;

20      2. Defendant shall be afforded reasonable opportunity for private consultation with

21          counsel;

22      3. On order of the United States or on request of an attorney for the Government, the



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01        person in charge of the corrections facility in which defendant is confined shall deliver

02        the defendant to a United States Marshal for the purpose of an appearance in connection

03        with a court proceeding; and

04     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

05        for the defendant, to the United States Marshal, and to the United State Pretrial Services

06        Officer.

07        DATED this 3rd day of April, 2012.

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09                                                      A
                                                        Mary Alice Theiler
10                                                      United States Magistrate Judge

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